Case: 2:25-cv-00118-MHW-KAJ Doc #: 4 Filed: 03/14/25 Page: 1 of 4 PAGEID #: 15



                                                                                  FILED
                                                                         glQu^oH^7t HAQB.
                                                                         ~aj. ^ (y col^s
                           UNITED STATES DISTR.ICT COURT
                            SOUTHERN DISTRICT OF OHIO                    HAR1U 1025 2^b P
                                     EASTERN DIVISION
                                                                         w. w^^^
                                                                          C:-, UU?I-R"
                                                                                   1 i^:-       lisbi"'^
                                                                          f', --"-':. ''l":-:"'' ll \^;'-3
DAMON S. LLOYD                                        Case No. 2:25-CV-118'

      Plaintiff

-v-                                                   District Judqe Michael Watson

CORBY FREE, et al,                                    Magistrate Kimberly Jolson

      Defendants



                           PLAINTIFF'S AMENDED COMPLAINT



      NOW COMES Plaintiff, Damon S. Lloyd, anB hereby submits his Amended

Complaint in the above-captioned case.

      42 USCS §1983 gives Plaintiff the remedv-action at law for proceeding
of redress to parties deprived of constitutional rights/ privileges/                            and

immunities by official's abuse of their position. Persons who are denied

rights guaranteed to them under federal law may vindicate these riqhts in

appropriate   cases   by   various    remedies   in   federal   courts    to      obtain          an

injunction under 42 USCS $1983. Moreover,          focus of §1983 is "on misuse of

power possessed     by virtue   of state law and made possible              only because

wrongdoer is clothed with authority of state law. "             It should likewise be

riuly noted that the Defendants herein in their official capacities is

eauivalent to a suit brought against a qovernment entity. Carpenter v.
Knapp/ 2024 U. S. Dist. LEXIS 144230.

      As ordered by Magistrate Jolson,           Plaintiff will provide addifcional

"facts in support of Plaintiff's claims/ the names and specific actions of

the Defendants,    and the relief reauested."
 Case: 2:25-cv-00118-MHW-KAJ Doc #: 4 Filed: 03/14/25 Page: 2 of 4 PAGEID #: 16




     The linchpin in the case sub judice is the deliberate blockina and/or

suspension in my digital player, which began on or about August 25, 2024.

The accounts in question were the various law professors, acfencies, and

advocacy groups that could be utilized in my onqoing redress of wroncrful

incarceration. This matter was properly exhausted in the requisite qrievance

procedures. (Request #479640171).

     On September 1, 2024, Lt. D. Cannon directed my grievance to Ms. Maqee

and changed my status from open to closed. (Request #482061171).

     On September 16, 2024, Lt. D. Cannon arranged a meeting to clarify the
issue. (Grievance #484457031).

     On October 2,      2024, Investigator A. Lindsey directed Plaintiff to

Institutional Inspector Corby Free and chanqed status from open to closed.
(Request #490744311).

     On October 15, 2024, Institutional Inspector Corby Free posited some
opaque response   denying my grievance,     includinq   an erroneous   theory of

religious accommcx3ation in conjunction of another inmate J. Dameron who has

nothing to do wifch this action. (Grievance N91644801).

     On October 16, 2024,, I sent my grievance to Chief Inspector K. Morrow

who denied my grievance. (Grievance #495371991).

     On November 4, 2024. Chief Inspector K. Morrow did not find Inspector
Corby Free responsible but that TIS Corby Free was awaiting a response from

Viapath as to the denials of contacts. (Grievance #498974641).

     On November 6, 2024, ITS Corby Free stated that "the accounts were not

suspended by individuals @ CCI and were actions from someone outside of our

agency and not a grievable action. " (Grievance #491644801).



                                    Pa. ?
Case: 2:25-cv-00118-MHW-KAJ Doc #: 4 Filed: 03/14/25 Page: 3 of 4 PAGEID #: 17




      As held      in   Bell       v.   Washington/         2024 U. S.      Dist.    LEXIS 109829,

Plaintiff's claim "has facial plausibility as Plaintiff pleads factual

content     that   allows    the    court     to    draw a     reasonable     inference     that    the

Defendants are liable for the misconduct alleqed. "                        Plaintiff's complaint

creates more than speculation or suspicion of a legally cognizable cause of

action; it shows entitlement and a plausible claim for relief.

      The    litanv     of     state     actors       who     have    deliberately       forestalled

Plaintiff's access to legal aid include IT? Corby Free, DRC Legal Counsel/

Christopher Lambert- and Chief ITS Karen Morrow.

      Plaintiff resoectfully reauests this Court issue a Declaratory Judgment

and   Imunctive       Relief    for     the   state        actors    to   cease    and   desist    from

withholdinq valuable assistance, including but not limited to, unencrypting

the twenty-five contacts in his digital media account and any other relief

this Court deem just and proper.


                                                   Respectfully submitted

                                                                                     -^-iO-^>^b
                                                   Damon S. Lloyd
                                                   15802 State Route       104 N
                                                   Chillicothe, Ohio 45601




                                                   Pa. 3
Case: 2:25-cv-00118-MHW-KAJ Doc #: 4 Filed: 03/14/25 Page: 4 of 4 PAGEID #: 18




                           CERTIFICATE OF SERVICE



     I hereby certify that the foregoing Motion to Amend Complaint was

mailed via regular U. S. Mail on this JF^^ay cf March 2025.

                                     (^U/^A^>), ^^c^y^,
                                    Damon S. Lloyd /
